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IN THE UNITED STATES DISTRICT COURT E/E/l(/@ \

 
 

 

FOR THE WESTERN DISTRICT OF TENNE /°,y
EASTERN DIVISION ;;;§E r/Cr/j .. Q'\$`
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:v,j’/';Q)I/%.
ERNEST W. HOGAN, )
)
Plaintiff, )
)
VS. ) No. 05-1029-T-An
)
WEAKLEY COUNTY DETENTION )
CENTER, ct al., )
)
Defendants. )
ORDER

 

Plaintiff, a prisoner acting pro se, filed this action, alleging that Det`endants violated
his constitutional rights under the Eighth Amendment by demonstrating deliberate
indifference to his serious medical needs while he was incarcerated at the Weakley County
Detention Center. On July 13, 2005, the court granted the motion for summary judgment
of Defendants Weakley County Detention Center, Jail Administrator Jirn Phelps, and J`ailer
Chuck Stegall. In that order, the court noted that Plaintiff has not served the remaining
defendant, Jeff Virison, with process. Plaintiff Was ordered to show cause why the action
as to Defendant Vinson should not be dismissed for failure to comply With Fed. R. Civ. P.
4. Plaintiff was warned that failure to respond to the order would result in the dismissal of
the action as to Defendant Vinson pursuant to Fed. R. Civ. P. 41.

Plaintiff has not responded to the order to show cause. Consequently, Defendant

This document entered on the docket sheet in compliance

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Vinson is hereby DISMISSED as a defendant Because all claims against all defendants
have now been resolved, the clerk is directed to enter judgment accordingly

IT IS SO ORDERED.

Q’/“ww/DM

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TED sTATEs DISTRIC`T JUDGE

/AQ/MMSMG

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CV-01029 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

ESSEE

 

J ames 1. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Ernest E. Hogan
1480 lowell Store Rd.
Dresden7 TN 38225

Pam Belevv

CIRCUIT COURT CLERK
Weakley County Courthouse
P.O. Box 28

Dresden7 TN 38225

J on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Honorable J ames Todd
US DISTRICT COURT

